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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRANDON BATES                              :      CIVIL ACTION
                                           :
       v.                                  :      NO. 20-2956
                                           :
MONTGOMERY COUNTY, et al                   :

                                          ORDER

       Following upon the settlement conference held on September 29, 2022, it is hereby

ORDERED that counsel for the parties shall meet and confer on their settlement discussions and

provide the Court with a status report on or before noon Friday, October 7, 2022.


                                                  BY THE COURT:

Date: September 29, 2022                          /s/ David R. Strawbridge, USMJ
                                                  David R. Strawbridge
                                                  United States Magistrate Judge
